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The Honorable Donald W. Molloy
United States District Judge
United States District Court
District of Montana

201 E. Broadway

Missoula, MT 59802

Dear Judge Molloy,

My name is Heather Marshall and | am writing you on behalf of my husband, Matthew Marshall.
| have known Matthew for 25 years and we have been married for almost 22 years. | met Matt
when he was working as an Indiana State Trooper and was assigned to the district that covered
my hometown. At the time, | was just finishing business school and working as an office manager
for a manufacturing company and part-time as a waitress in a local restaurant. | met Matt one
evening when he and a few other Troopers came in to the restaurant for dinner. When they sat
in my section to say | was extremely nervous would be an understatement. | had just turned 21
at the time and my nerves got the best of me and at the end of the meal | ended up spilling a cup
of coffee on Matt’s uniform pants. The way he handled it was humble, patient, topped off with a
twist of humor to put me at ease. My manager at the time played matchmaker and Matt called
me and we had our first date two days later.

We dated a few years then got married with a simple ceremony by a waterfall in Tennessee. Matt
has always been my biggest supporter, motivator, and cheerleader in life. He is always the person
that wants to see me and his loved ones succeed and do the very best they can. When | was
looking for a bigger purpose in life Matt suggested nursing as a potential option. | struggled with
the confidence knowing | was already the first person in my family to go to college and attending
nursing school seemed like an impossibility. Matt reassured me that we could make it work and
he would put in as many hours as he needed in order for us to make it. | took the leap, applied
to a specialized nursing program in Louisville, KY and was accepted. | went to school, worked 3
jobs and we made ends meet. Matt was the one there helping me, encouraging me, reassuring
me | could do it. It didn’t matter if it was late nights of studying, or long days without sleep. Matt
was there bringing me food, helping me study and taking care of everything else so | could focus
on school. He was always trying to set me up for success any way he could help. Even late nights
when his shifts on the department went into doubles he still put me first.

Matt is a person that has done countless selfless acts and kind gestures for so many. Some acts
are simple while others have been life altering. When Matt and | first married, his 12-year-old
nephew was arrested by the State Police for making threatening statements in a letter he wrote
at school. He was then expelled from school and there was grave concern for his well-being. His
nephew was struggling with his parents’ divorce and needed positive support and structure in his
life. Matt stepped up and without question volunteered to bring him to live with us. It caused a
huge falling out with Matt’s sister who didn’t want to accept the reality of what was happening
with her son. He lived with us until he graduated from high school then enlisted into the Marine
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Corp right after graduation. That move changed his nephew’s life. | say this because if Matt had
not intervened, taken the risk to put his family ahead of himself, it’s frightening to think of how
his nephew’s life would have turned out. | know me and Matt feel a huge sense of pride and
accomplishment knowing that our nephew spent 5 successful years in the Marine Corps,
successfully graduated from college, graduate school, and is now a PhD candidate in forensic
anthropology and works for the Army Corps of Engineers. He is married to his high school
sweetheart and has two amazing children.

Matt is the man that volunteers to help build a garage in the brutal Montana winter even when
he is admittedly not the “handyman” type. His humility puts him at ease saying that but he’s also
driven to lend a hand to anyone who asks even when he doesn’t have the time. His work ethic is
beyond most people’s comprehension. He doesn’t settle for doing anything half way and as crazy
as that can make me at times, it’s also one of the things | love and appreciate about him the most.
He is someone that strives to help people see the best in themselves. This is never of any benefit
to him, this is just one of many examples of his selflessness. Over the years he has been the one
to help me see the best in myself. He does the same for our daughter, Madilyn.

He and Madi have a really incredible relationship and | truly do not know anyone who has the
father/daughter bond that they do. Madi is now 18, she is an amazing young lady getting ready
to graduate high school in June and start college in the fall. In her eyes, the sun rises and sets
with Matt. At the age of 18 he is still “daddy” to her and is never embarrassed or shy to call him
that in public or around her friends. | am so thankful for the father Matt is to Madi, | think it’s
every mother’s greatest wish. She is not a young lady that will or has had to look to a boy/young
man to fill a void of her dad. They go for drives and listen to their music, have late nights eating
popcorn and watching movies, lying in bed while she fills him in on the latest boy gossip, or just
enjoying each other and poking fun at mom. Matt is the dad that never missed a dance
competition, volleyball game, parent/teacher night or coaching opportunity for Madi if he could
help it. To him, there is nothing more important than being present for her. | am grateful every
single day that Matt and Madi have the relationship they do. The young lady Madi has grown up
to be says a lot about the father Matt is to her. When Madi was 6 years old, Matt had been
deployed to foreign countries for over half of her life at that point. He had just returned from
Bogota, Colombia and when | showed him the calendars | kept and had counted up the days
away, it crushed him. He also promised that he would do everything he could to make up for that
lost time and to find a way to not have to be away. It took a while but he kept his promise to us
and has worked extremely hard to make up for those lost years. It fills my heart knowing that he
has worked tirelessly to be that present father that he never had growing up.

It’s no secret that at one point me and Matt were having difficulties in our marriage. | feel like
this is an important example to make because to me, it says a lot about his character. When we
were separated he had a romantic relationship with another woman and they had a child
together. Matt could have handled the situation a lot of different ways but even though | was
hurt and angry, when he found out about the pregnancy, he came straight to me and told me. |
will never forget him saying to me that as difficult as the situation was, he couldn’t get himself to
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take the easy way out. During the course of our separation there was another child and even
though most thought that would be the end of us, | stayed committed and knew God would lead
us in the right direction. We took it day by day and have reconciled our marriage and Matt puts
the work in to be a present, loving father to all three of the girls. We look at this and focus on
being thankful that Madi now has two little sisters who look up to her and their bond will only
grow stronger over the years. Me, Matt, and Keegan all work together to make sure the girls are
always put first and that wherever this path takes us, we will travel it together. The most
important thing to Matt is to see his girls grow up, be happy, healthy, know they are loved and
that individually they are the most important gifts he has ever been given.

| have had many opportunities over the years to see the type of leader, boss, and mentor Matt is
to those around him. He is a man that leads by example, never expecting anything that he
wouldn’t do himself. He has been the boss/leader/friend that is up until 3:00 am with an
employee counseling, listening, and guiding because that person needs an ear or a shoulder. He
is the person that answers the call to pick up a friend that had too many drinks and needs a ride
home in the middle of the night. Matt is man that would give the literal shirt off of his back for
anyone that needed it. While Matt and | were dating we didn’t have two nickels to rub together.
We both worked hard and earned an honest living. No matter how much money he had or didn’t
have he still sent his mom money every month to help her. He always said | can’t do much but
wanted to always do what | can to help her. Matt was very close with his mom. | did not have the
honor of knowing her well but was able to meet her and see the special bond they had before
her sudden passing. | think the bond he had with his mother was a huge influence on the type of
father Matt works very hard to be.

| want to give one final example of the commitment Matt has to his family. Shortly after we mover
here, | had a series of health issues that seemed to be one thing after another. I’ve always been
an extremely healthy, active person and never really had medical problems. | think God was
storing them all up to test my resolve but when he dealt the cards, they weren’t pretty. | was
diagnosed with melanoma on spinal area, a couple bouts with H. pylori bacteria, a complete
hysterectomy, and then topped all of that off with a freak boating accident that snapped my arm
in two and required multiple surgeries, plates, and screws and had me bedridden for several
months. | remember feeling at the lowest point in my life but Matt was there, doing everything
for me, our family, all while trying to oversee several companies and build one. He had a hospital
bed setup in our bedroom because | had to sleep elevated. He fed me, bathed me, dressed me,
and was somehow doing all of this on his own. He never called in home health, never leaned on
others, and somehow was always right there when | needed him even if it was just to get a sip of
water. It was a 5-month recovery and | don’t remember him ever losing his patience with me.

The love he has for me, for his daughters, for his friends is something that is difficult to describe
on paper. | am thankful every day for him. He has spent his life looking out for the people he
loves whether it be through being an amazing daddy, a loving husband, supportive friend,
understanding boss, or community service. Whatever it might be in his life he has spent it trying
to make those people’s lives better. He has served his community and his country with
commitment and purpose. | am proud to be his wife, proud of the man he is and take comfort in
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knowing no matter what the future brings, he will continue to live a life of purpose. He is not only
my husband, he is my best friend. | know for certain the world is a better place with Matt in it,
our lives are better with him guiding us, and we will always love and support him. His courage
through all of this is something that | will never forget and | have faith that all of this is part of
God’s plan.

Respectfully,

CHadas enka
